                          EXHIBIT 58




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              UNITED STATES of AMERICA
                                    vs
METHODIST LE BONHEUR HEALTHCARE, et al.


                               Volume 2

                      JEFFREY LIEBMAN
                         January 27, 2023




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·1   meetings held either near or in the corporate           ·1   Q.· · ·And you mentioned development of facilities.
·2   offices or the meetings were held in Germantown.        ·2   What facilities are those?
·3   Those are the only two places I remember meetings       ·3   A.· · ·Well, the Germantown facility was developed.
·4   being held.· There was one meeting, I believe, in       ·4   Services and key personnel, key doctors, very
·5   the consultants' meetings we talked about earlier.      ·5   qualified doctors, were moved from the most densely
·6   I think one of them was held at a restaurant.           ·6   populated part of the service area out to the what
·7   Q.· · ·Do you know if the relationship between West     ·7   you would call a much more sparsely populated area,
·8   and Methodist was renewed?                              ·8   so they -- for the convenience of the doctors and
·9   A.· · ·I do not.                                        ·9   the development of new facilities.
10    Q.· · ·You mentioned that Methodist wanted to          10    Q.· · ·Did you consider the development of new
11    increase market share.· Was that a concern to you?     11    facilities to be improper?
12    A.· · ·Increasing market share is not a concern.       12    A.· · ·I considered moving the services out to the
13    How you increase market share might be a concern for   13    suburbs without -- was -- was peculiar to me because
14    me.                                                    14    you're moving from the most densely populated
15    Q.· · ·Did you have concerns about how Methodist       15    population, where they didn't have a lot of access
16    wanted to increase market share?                       16    to healthcare, to a more suburban location where
17    A.· · ·Yes.                                            17    fewer people lived.
18    Q.· · ·What was that concern?                          18    Q.· · ·Do you consider the development of facilities
19    A.· · ·My concern was that they were trying to         19    to be a misuse of 340B savings?
20    incentivize the group to change their referral         20    A.· · ·I'm sorry.· Can you ask me that again?· The
21    patterns away from the hospitals the private group     21    development of facilities?· Can you repeat the
22    had used for over 20 years to Methodist in exchange    22    question?
23    for economic benefits.                                 23    · · · · · · MR. CHENERY:· Terri, could you read that
24    Q.· · ·What were those economic benefits?              24    back, please.
25    A.· · ·It was free rent, it was development of         25    · · · · · · MR. VROON:· Object to the form.


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·1   facilities that they could use, it was my concern       ·1   · · · · · · THE WITNESS:· Yeah, I think that
·2   whether or not the doctors -- the funneling of the      ·2   facilities should be developed corresponding to
·3   money was going to increase the doctors'                ·3   where the patient needs are.
·4   reimbursement or compensation.                          ·4   BY MR. CHENERY:
·5   Q.· · ·Do you know how the doctors were compensated?    ·5   Q.· · ·You mentioned free access to certain services
·6   A.· · ·From Methodist?                                  ·6   at the cancer center.· What services were those?
·7   Q.· · ·Yes.                                             ·7   A.· · ·When we would -- we could never figure out
·8   A.· · ·I do not.                                        ·8   how certain employees were being supported or -- at
·9   Q.· · ·Do you know if their compensation increased      ·9   least when we were designing the new facility that
10    during the affiliation?                                10    was going to be in Memphis at the university
11    · · · · · · MR. VROON:· Object to the form.            11    hospital, we could never get our hands around was
12    · · · · · · THE WITNESS:· Comments were made that      12    every employee going to be charged back or not, who
13    their compensation did go up, but I do not have -- I   13    was on what payroll.· It was a very confusing
14    was not part of that development of whatever the       14    system.· And it looked from afar that certain
15    reimbursement was between the Methodist system and     15    services and employees were not necessarily being
16    the doctors.                                           16    accounted for appropriately.
17    BY MR. CHENERY:                                        17    Q.· · ·What do you mean, "accounted for
18    Q.· · ·Which West doctors' compensation went up        18    appropriately"?
19    during the affiliation?                                19    A.· · ·Well, if there are employees that were on one
20    A.· · ·I cannot tell you offhand who went up and who   20    payroll and leased back to another, then there
21    went down.                                             21    should have been some sort of accounting or
22    Q.· · ·You mentioned the economic benefit of the       22    mechanism for me to understand.
23    rent.· Is that the rent we discussed earlier related   23    Q.· · ·What do you mean by one payroll or another?
24    to the freestanding cancer center?                     24    A.· · ·Well, if -- sometimes there were employees
25    A.· · ·Yes.                                            25    who sat on the West Clinic payroll but were paid by



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·1   A.· · ·No.                                              ·1   in termination, that by receiving that you were
·2   Q.· · ·Did you ever hear anyone at Methodist talking    ·2   being treated unfairly?
·3   about these incidents after the January 2017 final      ·3   · · · · · · MR. VROON:· Object to the form.
·4   warning letter?                                         ·4   · · · · · · THE WITNESS:· I don't remember what I
·5   · · · · · · MR. VROON:· Objection.                      ·5   was thinking back then, but, again, I had agreed to
·6   · · · · · · THE WITNESS:· Yeah, I'm not sure I          ·6   sign the letter.
·7   understand the question.· Talking to me?                ·7   BY MR. CHENERY:
·8   BY MR. CHENERY:                                         ·8   Q.· · ·And you signed the letter, even though you
·9   Q.· · ·Did you ever hear about anyone talking about     ·9   believed all of the allegations in it were false?
10    the allegations that Ms. Holt raised?                  10    A.· · ·Well, I don't remember specifically what was
11    · · · · · · MR. VROON:· Object to the form.            11    in my head when I read the letter and signed it, but
12    · · · · · · THE WITNESS:· I don't remember it,         12    I do remember that we had agreed upon that we were
13    hearing that.                                          13    going to have a written warning and that everything
14    BY MR. CHENERY:                                        14    would go back to the way it was.
15    Q.· · ·So is it fair to say that Methodist, after      15    · · · · · · MR. CHENERY:· Okay.· We can go off the
16    issuing the final warning letter, was discreet about   16    record here, take a break.
17    this investigation?                                    17    · · · · · · THE VIDEOGRAPHER:· We are off the
18    · · · · · · MR. VROON:· Object to the form.            18    record.· The time is 11:03.
19    · · · · · · THE WITNESS:· I would not know if they     19    · · · · · · (Recess observed from 11:03 a.m. to
20    were discreet or not.                                  20    11:26 a.m.)
21    BY MR. CHENERY:                                        21    · · · · · · THE VIDEOGRAPHER:· We are on the record.
22    Q.· · ·What was your reaction to receiving the final   22    The time is 11:26.
23    warning letter?                                        23    BY MR. CHENERY:
24    A.· · ·Well, I anticipated getting a warning.· I was   24    Q.· · ·Mr. Liebman, how long after you received the
25    surprised at the content, but I had decided already    25    January 2017 final written warning did you file your


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·1   that I was going to sign it, so I did.                  ·1   lawsuit against Methodist?
·2   Q.· · ·Did receiving the final warning letter and       ·2   A.· · ·I don't recall exactly.· It was months later.
·3   its contents make you angry?                            ·3   Q.· · ·Do you recall that it was May 2017?
·4   · · · · · · MR. VROON:· Object to the form.             ·4   A.· · ·I'm sure there's a date on it, I just don't
·5   · · · · · · THE WITNESS:· I'm sorry.· Your              ·5   remember the exact date.
·6   statement -- your question was did I get angry when     ·6   · · · · · · MR. CHENERY:· Paige, could you pull up
·7   I got the letter?                                       ·7   the exhibit that's already been marked 242?
·8   BY MR. CHENERY:                                         ·8   · · · · · · (Whereupon, Exhibit 242 was presented.)
·9   Q.· · ·Yes.                                             ·9   · · · · · · THE VIDEOGRAPHER:· That has been shared,
10    A.· · ·I expected the letter to come because I had     10    Exhibit 242.
11    been given advanced warning, so I wouldn't say         11    · · · · · · (Discussion off the record.)
12    angry, I would say surprised by the content.           12    BY MR. CHENERY:
13    Q.· · ·Were you upset that Methodist issued a final    13    Q.· · ·Mr. Liebman, do you see in the footer of that
14    warning letter stating that you would be terminated    14    document --
15    if another similar incident again arose?               15    · · · · · · MR. VROON:· Excuse me, Taylor, I'm
16    A.· · ·No.· I had agreed to sign the letter before I   16    sorry.· It's not downloaded quite yet.
17    received it.                                           17    · · · · · · MR. CHENERY:· Sure.
18    · · · · · · MR. VROON:· Taylor, we've been going       18    · · · · · · Mr. Liebman, let me know when you have
19    about two hours.· Can we take a break whenever you     19    it loaded.
20    have a -- in a moment, please?                         20    · · · · · · And Bryan, I'm just going to ask a
21    · · · · · · MR. CHENERY:· Yeah, one -- one more        21    question about the first page, which contains the
22    question.                                              22    file date.
23    BY MR. CHENERY:                                        23    · · · · · · MR. VROON:· Okay.· I can see it now.
24    Q.· · ·Did you think, in receiving the final warning   24    · · · · · · Jeff, can you see it?
25    letter stating that the next incident would result     25    · · · · · · THE WITNESS:· Not yet.· It's not quite



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·1   · · · ·Do you recall submitting your resignation --     ·1   A.· · ·I was -- I wouldn't -- I was looking, but I
·2   let me back up.· Do you remember to whom you            ·2   wasn't out there, like, really, really actively
·3   submitted your resignation?                             ·3   looking, but I was looking around.
·4   A.· · ·I --                                             ·4   Q.· · ·In July 2017?
·5   · · · · · · MR. VROON:· Object to the form.             ·5   A.· · ·Yes.
·6   · · · · · · Excuse me.· Object to the form.             ·6   Q.· · ·Was Methodist's affiliation with the West
·7   BY MR. CHENERY:                                         ·7   Clinic still in place when you left Methodist in
·8   Q.· · ·Sorry, Mr. Liebman.· If you answered I           ·8   August 2017?
·9   couldn't --                                             ·9   A.· · ·I believe it was.
10    A.· · ·Yeah, I told Michael Ugwueke I was going to     10    Q.· · ·Do you have any personal knowledge about the
11    resign in a meeting with him.                          11    circumstances of unwinding that affiliation?
12    Q.· · ·Did you participate in an executive committee   12    A.· · ·I do not.
13    meeting on August 25, 2017?                            13    Q.· · ·Mr. Liebman, do you recall that before the
14    A.· · ·No.                                             14    first portion of your deposition was suspended in
15    Q.· · ·Have you ever been terminated or asked to       15    September, we had begun to discuss a committee
16    resign from any employment position other than your    16    called the Cancer Council, or Cancer Center
17    employment with Methodist?                             17    Executive Council?
18    · · · · · · MR. VROON:· Object to the form.            18    A.· · ·I recall there was a committee that was
19    · · · · · · THE WITNESS:· I don't recall.· I don't     19    called that, yeah.
20    recall being terminated or asked to resign.· And I     20    · · · · · · MR. CHENERY:· Paige, could you please
21    don't recall being asked to resign from Methodist.     21    share Tab 5.
22    I resigned from Methodist because I had already --     22    · · · · · · THE VIDEOGRAPHER:· Five has been shared
23    well, two things.· One, I had already arranged for     23    and that would be Exhibit 266.
24    employment elsewhere, and I could tell from the        24    · · · · · · MR. CHENERY:· Thank you.
25    meeting with Michael Ugwueke, after his comments to    25    ///


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·1   me, that we couldn't work together anymore.             ·1   · · · · · · (Whereupon, Exhibit 266 was marked.)
·2   BY MR. CHENERY:                                         ·2   · · · · · · THE WITNESS:· (Reviewing.)· Okay.
·3   Q.· · ·I'll try and ask my question in a clearer        ·3   BY MR. CHENERY:
·4   way.                                                    ·4   Q.· · ·Do you see at the top of the first page of
·5   · · · ·I'm not asking about your employment with        ·5   this document, Cancer Center Executive Council
·6   Methodist.· Other employment positions; have you        ·6   Meeting Minutes, February 11, 2015?
·7   ever been terminated or asked to resign from other      ·7   A.· · ·Yeah.
·8   positions?                                              ·8   Q.· · ·And do you see your name listed in the column
·9   A.· · ·I'm trying to think back.· I think in --         ·9   of non-council members present?
10    early in my career I was asked to resign when I was    10    A.· · ·I do.
11    at Washington Hospital Center 20-something years       11    Q.· · ·My questions relate -- if you see the numbers
12    ago.                                                   12    that are stamped in the bottom right-hand corner of
13    Q.· · ·Why were you asked to resign there?             13    each page, this will be I believe the sixth page of
14    A.· · ·There was a restructuring.· My original boss    14    document.· The number in the bottom right-hand
15    left, a new boss came in.                              15    corner, MLH_021702?
16    Q.· · ·Any other reasons other than the                16    A.· · ·I'm sorry, 021...
17    restructuring?                                         17    Q.· · ·702.
18    A.· · ·Not that I remember, no.                        18    A.· · ·I'm just looking for it.· Hang on.· Yes, I
19    Q.· · ·When did you line up other employment while     19    see that page.
20    you were employed at Methodist?                        20    Q.· · ·Do you see around the middle or just below
21    A.· · ·I was recruited in July to MetroWest.           21    the middle of the page there's a bullet point, "OR
22    Q.· · ·Who recruited you?                              22    Room turnaround times"?
23    A.· · ·The chairman of the board.                      23    A.· · ·I see that.
24    Q.· · ·Were you seeking other employment at that       24    Q.· · ·Then it has your name, J. Liebman, listed
25    point?                                                 25    next to that?


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